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             AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


I, Reilly L. Teal, having been duly sworn, depose and state:


 1. I am a Special Agent of the U.S. Drug Enforcement Administration (DEA) assigned
    to the Louisville Division Office. From 2019 to 2021, I was employed by Indiana
    State University Police Department in Terre Haute, Indiana. During that time, I
    conducted street level narcotic investigations. Since March 2021, I have been a Special
    Agent of the Drug Enforcement Administration during which time I have specialized
    in investigations involving narcotics trafficking. I have received specialized training
    on the subject of narcotics trafficking and money laundering and have been personally
    involved in investigations concerning the possession, distribution, and importation of
    controlled substances, as well as investigations concerning the methods utilized to
    finance transactions, launder and transport drug proceeds, and conceal assets
    purchased with illegal proceeds. I have also participated in investigations involving
    the interception of both wire and electronic communication devices. This affidavit is
    based upon my personal knowledge, as well as information reported to me by other
    federal and local law enforcement officers and others with knowledge of the facts
    surrounding this case.


 2. This affidavit is submitted in support of a criminal complaint and arrest warrant of
    Kelvin L. ANDERSON. The facts and circumstances outlined in this affidavit are
    indicative of probable cause to believe that ANDERSON, on May 9, 2023, possessed
    with intent to distribute methamphetamine in violation of Title 21, United States Code
    841(a)(1).

                                Background of Investigation


 3. On January 4, 2023, members of the Drug Enforcement Administration (DEA)
    Louisville Division Office (LDO) began investigating the Kelvin ANDERSON Drug
    Trafficking Organization (DTO). Based on law enforcement indices, members of the
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    DEA discovered that ANDERSON was using 5002 Quail Court, Apartment 1,
    Louisville, KY as his listed residence. On the same date, members of the DEA
    conducted surveillance at an apartment building located at 5002 Quail Court and
    observed a blue Ford Taurus bearing KY license plate “091AZN”. According to the
    Kentucky Department of Motor Vehicles, Kelvin ANDERSON at 5002 Quail Court,
    Apt 1, Louisville, KY, is the registered owner of the vehicle.

  On March 10, 2023, LDO Agents installed a pole camera in the vicinity of 5002
    Quail Court, Louisville, KY. Since the installment, Agents have observed, on multiple
    occasions individuals entering 5002 Quail Court and exiting less than five minutes
    later. This conduct is consistent with “short stays.” Based on affiant’s training and
    experience conducting narcotics investigations, affiant is aware that this volume of
    “short stay” traffic is consistent with individuals conducting drug transactions and is
    commonly witnessed at drug “stash houses.” In the month of March 2023, DEA LDO
    agents made two controlledpurchases of methamphetamine from Kelvin
    ANDERSON. Each time, the transactionoccurred at 5002 Quail Court, Apartment 1,
    Louisville, KY.


  Based on the investigation into the ANDERSON DTO, on May 9, 2023, a federal
    search warrant was issued authorizing the search of Anderson’s residence at 5002
    Quail Court, Apartment 1, Louisville, Kentucky, for evidence related to violations of
    21 U.S.C. Section 841(a)(1) and 846, possession with intent to distribute a controlled
    substance and conspiracy. On the same date, members of the LDO executed the search
    warrant and found Kelvin ANDERSON inside the residence. Upon search of the
    residence, members of the DEA located and seized approximately 1,899 gross grams
    (gg) of suspected methamphetamine located on the couch in the living room. In
    addition, inside the residence, members of the DEA discovered mail matter associated
    with Kelvin ANDERSON, including a utility bill from Louisville Gas and Electric.
    Other individuals who were on-scene during the time of the execution of the search
    warrant were detained, read their Miranda rights, and questioned. One subject,
    Kenneth ANDERSON, stated that the methamphetamine belonged to his brother.


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    Agents are aware based on the investigation and law enforcement indices that Kelvin
    ANDERSON is Kenneth ANDERSON’s brother.

 6. On May 10, 2023, the suspected methamphetamine seized from Anderson’s apartment
    at Quail Court tested positive for the presence of methamphetamine, a Schedule II
    controlled substance.

 7. All evidence was seized by the DEA LDO members. Kelvin ANDERSON was placed
    under arrest. Both Kelvin ANDERSON and seized items were transported to the DEA
    LDO. Seized items were placed into evidence. Kelvin ANDERSON was Mirandized
    by DEA Agents at the LDO. Kelvin ANDERSON advised that he understood his rights
    and invoked his right to counsel. However, during transportation to Oldham County
    Detention Center, Kelvin ANDERSON voluntarily stated “You know I am just the
    middle-man.”
                                       Summary
 8. Based upon the above information, with the evidence seized, and based on my
   training and experience, the affiant submits there is probable cause to believe that on
   May 9, 2023, Kelvin L. ANDERSON knowingly and intentionally possessed with
   intent to distribute 500 grams or more of a mixture or substance containing a detectable
   amount of methamphetamine in violation of Title 21, United States Code 841(a)(1) and
   841(b)(1)(1)(A)(viii).
                                                                   Digitally signed by
                                                    REILLY         REILLY TEAL

                                                    TEAL           Date: 2023.05.10
                                                    ________________________
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                                                    Special Agent Reilly L. Teal
                                                    Drug Enforcement Administration



Subscribed and sworn to me via telephone this 10th day of May, 2023.



                                                    _________________________
                                                    Colin H. Lindsay
                                                    United States Magistrate Judge



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